          Case 1:11-vv-00008-UNJ Document 41 Filed 04/09/14 Page 1 of 2




              In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS
                                       No. 11-008V
                                   (Not to be published)

*************************
                            *
YSIDRO MORENO, JR.,         *
                            *                        Filed: March 13, 2014
                Petitioner, *
                            *                        Decision by Stipulation; Attorneys’
          v.                *                        Fees & Costs
                            *
SECRETARY OF HEALTH AND     *
HUMAN SERVICES,             *
                            *
                Respondent. *
                            *
*************************

Randall G. Knutson, Mankato, MN, for Petitioner

Lara Englund, Washington, DC, for Respondent

                       ATTORNEYS’ FEES AND COSTS DECISION 1

        On January 4, 2011, Petitioner filed a petition seeking compensation under the National
Vaccine Injury Compensation Program. On October 17, 2013, the parties filed a joint stipulation
detailing an amount to be awarded to Petitioner. On October 18, 2013, the special master
previously assigned to this case issued a decision finding the stipulation to be reasonable and
granting Petitioner the award outlined therein.


1
  Because this decision contains a reasoned explanation for my action in this case, I will post this
decision on the United States Court of Federal Claims’ website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C § 300aa-12(d)(4)(B),
however, the parties may object to the published decision’s inclusion of certain kinds of
confidential information. To do so, Vaccine Rule 18(b) permit each party 14 days within which
to request redaction “of any information furnished by that party: (1) that is a trade secret or
commercial or financial in substance and is privileged or confidential; or (2) that includes
medical files or similar files, the disclosure of which would constitute a clearly unwarranted
invasion of privacy.” Vaccine Rule 18(b). Otherwise, the decision will be available to the
public. Id.
         Case 1:11-vv-00008-UNJ Document 41 Filed 04/09/14 Page 2 of 2



        On March 12, 2014, counsel for both parties filed another joint stipulation, this time
regarding attorneys’ fees and costs. The parties have stipulated that Petitioner’s counsel should
receive a lump sum of $30,706.32 in the form of a check jointly payable to Petitioner and
Petitioner’s counsel. This amount represents a sum to which Respondent does not object. In
accordance with General Order #9, the stipulation includes a statement that Petitioner incurred
no reimbursable costs in pursuit of his claim.

        I approve the requested amount for attorneys’ fees and costs as reasonable. Accordingly,
an award should be made in the form of a check jointly payable to Petitioner and Petitioner’s
counsel, Randall G. Knutson. In the absence of a motion for review filed pursuant to RCFC
Appendix B, the clerk of the court SHALL ENTER JUDGMENT in accordance with the terms
of the parties’ stipulation. 2


       IT IS SO ORDERED.
                                                         /s/ Brian H. Corcoran
                                                            Brian H. Corcoran
                                                            Special Master




2
 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint
notice renouncing their right to seek review.
